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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                 LONDON DIVISION
                          CIVIL ACTION NO. 6:16-cv-00193-DLB

UNITED STATES OF AMERICA                                                     PLAINTIFF

v.

ESTATE OF SUE C. MEADOWS, et al.                                          DEFENDANTS

                                           ORDER

       This matter having come before the Court upon the motion of the Plaintiff, United States

of America, for leave to file an Amended Complaint, and the Court being otherwise sufficiently

advised;

       IT IS HEREBY ORDERED that the Motion for Leave to File an Amended Complaint is

SUSTAINED. The Amended Complaint shall be deemed filed as of the date of this Order.



Date: ______________                               __________________________________
                                                   Hon. David L. Bunning
                                                   UNITED STATES DISTRICT JUDGE
                                                   EASTERN DISTRICT OF KENTUCKY




DISTRIBUTION:
ECF Notification to Plaintiff’s Attorney
Defendants
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